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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 11-298
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   TU NGOC TRAN,                        )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Manufacture and Distribute Marijuana; Money

15 Laundering; Manufacturing Marijuana (3 counts); False Statement on a Loan Application (2

16 counts); Forfeiture Allegations

17 Date of Detention Hearing:     June 27, 2011.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably

21 assure the appearance of defendant as required and the safety of other persons and the

22 community.



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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          1.     Defendant has been indicted in the District of Oregon on the above-referenced

03 charges. He has waived an identity hearing and an Order of Transfer has been signed.

04          2.     Defendant has waived his right to a detention hearing in this District, and

05 requests the opportunity to have a detention hearing in the charging District, after consultation

06 with local counsel.

07          3.     There does not appear to be any condition or combination of conditions that will

08 reasonably assure the defendant’s appearance at future Court hearings while addressing the

09 danger to other persons or the community.

10 It is therefore ORDERED:

11      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

12          General for confinement in a correction facility separate, to the extent practicable, from

13          persons awaiting or serving sentences or being held in custody pending appeal;

14      2. Defendant shall be afforded reasonable opportunity for private consultation with

15          counsel;

16      3. On order of the United States or on request of an attorney for the Government, the

17          person in charge of the corrections facility in which defendant is confined shall deliver

18          the defendant to a United States Marshal for the pupose of an appearance in connection

19          with a court proceeding; and

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01     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 27th day of June, 2011.

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                                                        A
                                                        Mary Alice Theiler
                                                        United States Magistrate Judge
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     DETENTION ORDER
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